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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                           Case No. 22-21958-CIV-WILLIAMS

  MARTHA DUARTE,

        Plaintiff,

  vs.

  BELLSOUTH
  TELECOMMUNICATIONS LLC,

        Defendant.
                                          /

  ORDER OF REFERRAL AND NOTICE OF COURT PRACTICE AND PROCEDURES

        THIS MATTER is before the Court upon a sua sponte review of the record.

  Pursuant to 28 U.S.C. § 636 and the Magistrate Rules of the Local Rules for the Southern

  District of Florida, all discovery disputes and non-dispositive pretrial motions are

  REFERRED to Magistrate Judge Chris M. McAliley. It is further ORDERED that the

  Parties shall adhere to the Federal Rules of Civil Procedure, the Local Rules for the

  Southern District of Florida, Judge Williams' Court Practices and Procedures, and Judge

  McAliley’s Discovery Procedures. Judge Williams' Court Practices and Procedures and

  Judge McAliley’s Discovery Procedures are available at the Court's website:

  http://www.flsd.uscourts.gov/content/judge-kathleen-m-williams.

        Additionally, it is further ORDERED that WITHIN TWENTY (20) DAYS from the

  date that the last defendant responds to the complaint, the Parties shall file a joint

  conference report and a joint proposed scheduling order, as required by S.D. Fla. Local

  Rule 16.1(b). As part of that filing, the Parties shall complete and submit the attached

  form proposing deadlines.
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          Non-compliance with any provision of this Order, the Federal Rules of Civil

  Procedure, the Local Rules, or this Court’s Practices and Procedures may subject the

  offending party to sanctions, including dismissal of this case. It is the duty of all counsel

  to take all actions necessary to comply with this Order.

          DONE AND ORDERED in Chambers in Miami, Florida, this 28th day of June,

  2022.




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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                           Case No. XX-XXXXX-CIV-WILLIAMS

  PARTY NAME,

        Plaintiff(s),

  vs.

  PARTY NAME,

       Defendant(s).
  ___________________/

                        SCHEDULE JOINTLY PROPOSED BY THE PARTIES

        THIS MATTER is set for trial for the week of [Month, Day, Year]. The Parties

  propose to adhere to the following schedule:

        [Month, Day, Year]         The Parties shall furnish their initial disclosures
                                   pursuant to Fed. R. Civ. P. 26. The Parties are under
                                   a continuing obligation to furnish supplements within
                                   ten (10) days of receipt or other notice of new or
                                   revised information.


        [Month, Day, Year]         The Parties shall file motions to amend pleadings or
                                   join Parties.


        [Month, Day, Year]         The Plaintiff shall disclose experts, expert witness
                                   summaries and reports, as required by Federal Rule of
                                   Civil Procedure 26(a)(2).


        [Month, Day, Year]         The Defendant shall disclose experts, expert witness
                                   summaries and reports, as required by Federal Rule of
                                   Civil Procedure 26(a)(2).

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       [Month, Day, Year]     The Parties shall exchange rebuttal expert witness
                              summaries and reports, as required by Federal Rule of
                              Civil Procedure 26(a)(2).


       [Month, Day, Year]     The Parties shall complete all discovery, including
                              expert discovery.


       [Month, Day, Year]     The Parties shall complete mediation and file a
                              mediation report with the Court.


       [Month, Day, Year]     The Parties shall file all dispositive pre-trial motions

                              and memoranda of law. The Parties shall also file any

                              motions to strike or exclude expert testimony, whether

                              based on Federal Rule of Evidence 702 and Daubert

                              v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579

                              (1993), or any another basis.



       [Month, Day, Year]     The Parties shall each file one motion in limine. All
                              motions in limine must be filed at least six (6) weeks
                              before calendar call.




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        [Month, Day, Year]         The Parties shall file their joint pretrial stipulation,
                                   witness lists, and exhibit lists in accordance with Local
                                   Rule 16.1(d) and (e).      The Parties shall also file
                                   proposed jury instructions and a proposed verdict form,
                                   or statement of fact and conclusions of law (for non-
                                   jury trials).


        [Month, Day, Year]         The Parties shall submit their deposition designations.


  By:         [Attorney(s) for Plaintiff(s)]             [Attorney(s) for Defendant(s)]




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